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                                                                                                              IN THE UNITED STATES DISTRICT COURT
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                                                                         9                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                      10
                                                      11                     UNITED STATES OF AMERICA,                                         No. CR 00-00274 CRB
United States District Court




                                                      12                        v.                                                             ORDER
                                                      13                     YACOV YIDA,
                               For the Northern District of California




                                                      14                                         Defendant.
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                                                      16                               Now pending before the Court is the United States’ ex parte Motion for
                                                      17                     Nondisclosure and Exclusion of recently received information, which was filed under seal for
                                                      18                     in camera review. After carefully reviewing the government’s motion and the evidence, the
                                                      19                     Court hereby ORDERS the United States to immediately disclose such information to
                                                      20                     defendant. Furthermore, the United States shall disclose all investigative reports relevant to
                                                      21                     this information.
                                                      22                               IT IS SO ORDERED.
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                                                      25                     Dated: March 30, 2006                                            CHARLES R. BREYER
                                                                                                                                              UNITED STATES DISTRICT JUDGE
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